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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JOHN F. WARD,

               Plaintiff,

v.                                                                   No. 1:21-cv-00725-JHR

BEVERLY SIDES,
LOTTIE SIDES, and
GREG B. WARD,

               Defendants.

                   MEMORANDUM OPINION AND ORDER
         TRANSFERRING VENUE TO NORTHERN DISTRICT OF ALABAMA

       THIS MATTER comes before the Court on pro se Plaintiff's Amendment to Complaint,

Doc. 8, filed September 23, 2021 ("Amended Complaint").

       Plaintiff, who resides in Albuquerque, New Mexico, asserts claims for conversion and

breach of contract claims against Defendants who reside in Double Springs, Alabama. See

Complaint, Doc. 5, filed August 30, 2021. The breach of contract claim concerns the renovation

of a house located in Double Springs, Alabama.

       The Court notified Plaintiff that the Complaint: (i) failed to state claims for conversion and

breach of contract; (ii) did not contain allegations showing that the Court has personal jurisdiction

over Defendants; and (iii) did not contain allegations showing that the District of New Mexico is

a proper venue for this case. See Doc. 6, filed September 1, 2021. The Court ordered Plaintiff to

file an amended complaint.

       The Amended Complaint states: (i) "This Court is the proper Venue as Plaintiff is a resident

of Albuquerque New Mexico;" (ii) "Defendants are residents of Alabama;" and (iii) the property
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that is the subject of the breach of contract claim is in Double Springs, Alabama. Amended

Complaint at 1-3.

       The statute governing venue in general states:

       A civil action may be brought in—

       (1) a judicial district in which any defendant resides, if all defendants are residents
       of the State in which the district is located;

       (2) a judicial district in which a substantial part of the events or omissions giving
       rise to the claim occurred, or a substantial part of property that is the subject of the
       action is situated; or

       (3) if there is no district in which an action may otherwise be brought as provided
       in this section, any judicial district in which any defendant is subject to the court's
       personal jurisdiction with respect to such action.

28 U.S.C. §1391(b). “The district court of a district in which is filed a case laying venue in the

wrong division or district shall dismiss, or if it be in the interest of justice, transfer such case to

any district or division in which it could have been brought.” 28 U.S.C. § 1406(a).

       The Court concludes that the District of New Mexico is not a proper venue for this case

because there are no allegations that a Defendant resides in the District of New Mexico or that any

of the events or omissions giving rise to the claim occurred in the District of New Mexico. The

Court transfers this case to the Northern District of Alabama because Defendants reside in, and the

property that is the subject of the action is, in Double Springs, Alabama, which is in the Northern

District of Alabama.

       IT IS ORDERED that this case is TRANSFERRED to the Northern District of Alabama.




                                               _____________________________________
                                               UNITED STATES MAGISTRATE JUDGE




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